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FII.ED B¥ _____ D_c_
UNITED STATES DISTRICT COURT

 

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IN RE CONCORD EFS, INC. ) No. 02-2697 Ma
SECURITIES LITIGATION ) Judge Mays

 

SUPPLEMENTAL PRELIMINARY APPROVAL ORDER SETTING THE
DEADLINE FOR CLASS MEMBERS TO SUBMIT PROOFS OF CLAIM

WHEREAS, Lead Plaintiffs J.T. Milligan, J ames Keith Milligan and J. Curtis Williams,
.Tr., and Defendants Concord EFS, Inc., Dan M. Palrner, Edward A. Labry, III, Edward 'l`.
Haslarn, Marcia E. Heister, Williarn E. Lucado, Christopher S. Reckert, E. Miles Kilburn,
Ronald V. Congemi, and Richard P. Kiphart entered into a Stipulation and Agreement of
Settlement of Class Action (the “Settiement Agreement”), dated July 13, 2005; and

WHEREAS, the Court entered a July 21, 2005 Order Granting Joint Motion For
Preliminary Approval Of Settlernent, Conditional Certification Of Class, And Method Of
Proposed Notification Of Class Members (the “July 21 Order”); and

WHEREAS, the form of Notice approved by the Court contemplates a court-imposed
deadline of December 16, 2005, but the July 21 Order did not address such a deadline,

NOW THEREFOR_E, the Court hereby ORDERS, ADJUDGES AND DECREES as
follows:

l. The deadline for submission of a properly executed Proof of Clairn to the
Settlement Adrninistrator, at the address indicated in the Notice of Pendency and Settlement of

Class Action, is set for Decernber 16, 2005.

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Case 2:02-cv-02697-SHI\/| Document 134 Filed 08/03/05 Page 2 of 6 Page|D 339

\M.s L-
30 ORDERED this "" °L day of A`”$ 2005.

<W/”Vp»»~

Honorable Sarnuel H. Mays, Jr.
United States District Judge

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 134 in
case 2:02-CV-02697 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

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